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15
                                 UNITED STATES DISTRICT COURT
16
                                           DISTRICT OF NEVADA
17
       HSBC BANK USA, N.A.,                              Case No.: 2:21-CV-01300-APG-NJK
18
                              Plaintiff,                 STIPULATION AND ORDER TO
19                                                       EXTEND TIME TO REPLY IN
                      vs.                                SUPPORT OF MOTION TO DISMISS
20                                                       AND OPPOSE COUNTERMOTION
       FIDELITY NATIONAL TITLE GROUP,                    FOR PARTIAL SUMMARY
21     INC. et al.,                                      JUDGMENT (ECF Nos. 19, 40)
22                            Defendants.                FIRST REQUEST
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            COMES NOW defendants Chicago Title Insurance Company (“Chicago Title”) and

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     plaintiff HSBC Bank USA, National Association (“HSBC”), by and through their respective

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     attorneys of record, which hereby agree and stipulate as follows:

27          1.      On July 8, 2021 HSBC filed its complaint in the Eighth Judicial District Court for

28   the State of Nevada;

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1           2.      On July 8, 2021, Chicago Title removed the instant case to the United States
2    District Court for the State of Nevada (ECF No. 1);
3           3.      On September 10, 2021 Chicago Title moved to dismiss HSBC’s complaint (ECF
4    No. 19);
5           4.      On November 19, 2021 HSBC opposed Chicago Title’s motion to dismiss (ECF
6    No. 39) and filed a countermotion for partial summary judgment (ECF No. 40);
7           5.      Counsel for Chicago Title requests a 31-day extension to oppose the countermotion
8    for partial summary judgment and a 52-day extension to reply in support of its motion to dismiss,
9    such that Chicago Title’s reply and opposition are due on January 10, 2022, to afford Defendants’
10   counsel additional time to review and respond to HSBC’s opposition and countermotion.
11          6.      Counsel for HSBC does not oppose the requested extension;
12          7.      This is the first request for an extension made by counsel for Defendants, which is
13   made in good faith and not for the purposes of delay.
14          8.      This stipulation is entered into without waiving any of Defendants’ objections
15   under Fed. R. Civ. P. 12.
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1           IT IS SO STIPULATED that Chicago Title’s reply in support of its motion to dismiss
2    and opposition to HSBC’s countermotion is hereby extended through and including Monday,
3    January 10, 2022.
4    Dated: November 22, 2021                   SINCLAIR BRAUN LLP
5

6                                               By:    /s/-Kevin S. Sinclair
                                                      KEVIN S. SINCLAIR
7                                                     Attorneys for Defendants
                                                      CHICAGO TITLE INSURANCE COMPANY
8
     Dated: November 22, 2021                   WRIGHT FINLAY & ZAK, LLP
9

10
                                                By:    /s/-Lindsay D. Dragon
11
                                                      LINDSAY D. DRAGON
                                                      Attorneys for Plaintiff
12
                                                      HSBC BANK USA, NATIONAL
                                                      ASSOCIATION
13

14   IT IS SO ORDERED.

15                      23rd day of _____________,
            Dated this _____         November      2021.

16                                             __________________________________________
                                                   ANDREW P. GORDON
17                                                 UNITED STATES DISTRICT JUDGE
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                 STIPULATION AND ORDER TO EXTEND TIME TO REPLY AND OPPOSE
